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 JS 44 (Rev. 10i20)                                                                       CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herem neither replace nor supplement the filing and service of pleadings or other papers as required by law. except as
 provided by local rules of court. This form, approved by the Judicial Conference or the United States in September 1974. is required for the use of the Clerk or Court for the
 purpose of initiating the civil docket sheet. (Sfil: INS11WC?JONS ON NE\T f'ACiF OF Tlf!S FORM.)
 I. (a) PLAINTIFFS                                                                                                              DEFENDANTS

              N.H. (A Minor) and Tamika Harrell                                                                                 Dylan Soisson and The Village of Lakemore

     (b)      County of Residence of First Listed Plaintiff                      -=S'-'u"-'m=m=it=----------                    County of Residence of First Listed Defendant                     ,,S:..:u=-=m=m=it'---------
                                        (EYC!iPT IN U.S. PLA/N1JFF('ASl:S)                                                                              (/N U.S. PIA/N1JFF CAS/:S ONLY)
                                                                                                                                NOTE.       IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.

     ( C) Atton1cys (Firm Name, Address, and Telephone Number)                                                                   Attomeys (I/Known)
              Edward L. Gilbert Co. LPA, One Cascade Plaza, Suite
              825, Akron, OH 44308. (330) 376-8855
 II. BASIS OF JURISDICTION                                !Place,m ..x .. 1110ne BoxOn(vJ                      Ill. CITIZENSHIP OF PRINCIPAL PARTIES (J>tacca11 ·'r 111 oneBoxt,,rPtaintiff
                                                                                                                          (For Dn·ersi(l' Cases On~v)                                              and One !Joxfor Defi:ndanl)
            U.S. Government                           Federal Question                                                                              PTF              DEF                                                 PTF
              Plaintiff                                 (U.S. Gm'ernment Not a Parz}~                               Citizen ofll1is State             1  0          □         Incorporated or Principal Place             O    4
                                                                                                                                                                                   of Business In This State

D2          U.S. Government                           Diversitv                                                     Citizen of Another State            02
                                                                                                                                                                   □     2    Incorporated and Principal Place
                                                                                                                                                                                                                          □    5     Os
               Defendant                                 (lmth.:ite C111=c11s/11p qf Parties m Item Ill)                                                                        of Business In Another State

                                                                                                                    Citizen or Subject of a
                                                                                                                      Foreign Count1y
                                                                                                                                                        03
                                                                                                                                                                   □     3    Foreign Nation                              06         06

 IV. NATURE OF SUIT (!'lace an                           "X" in One Bux 011/1)
              CONTRACl'                                                TORTS                                           PORPEITUREIPENALTY




~
     110  Insurance                             PERSONAL INJURY                       PERSONAL INJl'RY                  625 Dmg Related Seizure                   422 Appeal 28 USC l 58                        375 False Claims Act
     120  Marine                                310 Airplane                      O 365 Personal Injury -                   ofl'ropcrty 21 USC 881                423 Withdrawal                                376 Qui Tam (31 USC
     130  Miller Act                            315 Airplane Product                    Product Liabilitv               690 Other                                     28     use
                                                                                                                                                                              157                                    3729(a))
     140  Negotiable Instrument                     Liability                     O 367 Health Care/ ·                                                                                                          400 State Reapportionment
     l 50 Recovery of Overpayment               320 Assault. Libel &           Pharmaceutical                                                         t--P"'R=o""1•"'E"'R"'T"'Y=R"'I""G"'H"'l'"'.""'--t=l 410 An Ii trust
          & Enforcement of Judgment                 Slander                    Personal lnjmy                                                                    820 Copyrights                                 430 Banks and Banking
D    l 51 Medicare Act         '                330 Federal Employers'         Product Liabilitv                                                                 830 Patent                                     450 Commerce
0    152 Recovcty of Defaulted                      Liability                     O
                                                                           368 Asbestos Perso;1al                                                                835 Patent - Abbreviated                       460 Deportation
           Student Loans                        340 Marine                      lnjwy Producl                                                                          New Drng Application                     470 Racketeer Influenced and
          (Excludes Veterans)                   345 Marine Product             Liability                                                                         840 Trademark                                      Corrupt Organi7.ations
0    153 Recovery of Overpayment                    Liability             PERSONAL PROPERTY 1-.,.,,.,,,,-,,_,....,.:.:L"'A:,:;Ba,O;:,:R.._,,_,,_.....-l'- 880 Defend Trade Secrets                              480 Consumer Credit
          ofVetcran's Benefits               350 Motor Vehicle                    D
                                                                           370 Other Fraud          710 Fair Labor Standards                                           Actof20l6                                     (15 USC 1681 or 1692)
0    160 Stockholders Suits                  355 Motor Vclucle                    O
                                                                           371 Tmth in Lending               Act                                                                                                485 Telcphone Consumer
0    190 Other Contract                            Product Liability              D
                                                                           380 Other Personal       720 Labor?vtanagemcnt                             1-,,.,..S,.OC="'1A=.i.:"'s"'EC=,u"'m"'1"'.T"'Y""'"·-,-.;-      Protection Act
0    195 Contract Product Liability          360 Other Personal                Property Damage               Relations                                           861 HIA (1395ft)                               490 Cable/Sat T\'
0    196 Franchise                                 Injury                         O
                                                                           385 Property Damage      740 Railway Labor Act                                        862 Black Lung (923)                           850 Securities!Commoditics/
                                             362 Personal ln.1ury -            Product Liability    751 Family and Medical                                       863 Dl\VC/DI\VW (405(g))                            Exchange
                                                   !\kdical ivlalpracticc                                    Leave Act                                           864 SSm Title XVI                              890 Other Statutory Actions
1---R __
       E__                f;...R_'I_.\_'_____C_I_V_IL_R_I_G_I_IT_S________________ 790 Other Labor Litigation
          A_L_I_'R_O.;...P..                                                                                                                                     865 RSI (405(g))                               891 Agricultural Acls
  210 Land Condemnation                    x 440 Other Civil Rights                                791 Employee Retirement                                                                                      893 Environmental ~fatters
D 220 Foreclosure                            -14 l Voting                                                   Income Security Act                                                                                 895 Freedom of Information


§ 230 Rent Lease & Ejectment
  240 Torts to Land
  245 Tort Product Liabilitv
0 290 All Other Real Prop;rty
                                             442 Employment
                                             443 Housingi
                                                   Accommodations
                                             445 Amer. w!Disabilitics -
                                                                                                                                                                 870 Taxes (U.S. Plaintiff
                                                                                                                                                                       or Defendant)
                                                                                                                                                                 871 IRS--Third Pm1y
                                                                                                                                                                       26 USC 7609
                                                                                                                                                                                                                     Act
                                                                                                                                                                                                                896 Arbitration
                                                                                                                                                                                                                899 Administrative Procedure
                                                                                                                                                                                                                    Act/Review or Appeal of
                                                   Employment                                                                                                                                                       Agency Decision
                                             446 Amer. w/Disabilities -                                                                                                                                         950 Constitutionality of
                                                   Other                                                                                                                                                            State Statutes
                                             448 Education

                                                                                          Conditions of
                                                                                          Confinement
V. ORIGIN                 ll'lacea11 ..X .. 111U11e8oxl!11(1J
GJ I    Original               02      Removed from                03            Remanckd from                D4    Rcmstatcd or         D    5 Transferred from             06       Multidistrict            0   8 Multidistrict
        Proceeding                     State Court                               Appellate Court                    Reopened                     Another District                     Litigation -                   Litigation -
                                                                                                                                                 (speciji')                           Transfer                       Direct File
                    Cite the U.S. Civil Statute under which you are filing (Da 1101 citej11risdi<'limutl s/11/11/es 1111frss tlfrer.,ityj:
                    42 U.S.C. § 1983 and 14th Amendment
VI. CAUSE OF ACTION
                    Brief description of cause:

VII. REQUESTED IN                               0      CIIECK IF THIS IS A CLASS ACTION                                DEMANDS                                           CHECK YES only if demanded in complaint.
     COMPLAINT:                                        UNDER RULE 23. F.R.Cv.P.                                                                                          Jl'RY DEMAND:                     OYcs          0No

VII I. RELATED CASE(S)
                                                     iSl!e 111.,1ruct1om):
       IF ANY                                                                     JUDGE         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ DOCKET NUMBER _ _ _ _ _ _ _ _ _ _ __
DATE
5/18/2021
FOR OFFICE USE ONLY                                                          C        /                   /

    RECEIPT#                                                                              APPI.Yl~G IFP                                       JUDGE                                    ~!AG. JUDGE
               Case: 5:21-cv-01034-JRA Doc #: 1-1 Filed: 05/18/21 2 of 2. PageID #: 11


                                            UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

I.                Civil Categories: (Please check one category only ).


                   1.    0           General Civil

                   2.
                   3.    B·          Administrative Review/Social Security
                                     Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                     CASE NUMBER:
11.    RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:   □ is RELATED to another PENDING civil case Dis a REFILED case                D      was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

Ill.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        ( 1)     Resident defendant If the defendant resides in a county within this district, please set forth the name of such
        county             .
        COUNTY: Summit
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiffs residence.
        COUNTY

IV.    The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
       determined in Section Ill, please check the appropriate division.

       EASTERN DIVISION



              §   AKRON
                  CLEVELAND
                  YOUNGSTOWN

       WESTERN DIVISION
                                             (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                                             Lake, Lorain, Medina and Richland)
                                             (Counties: Columbiana, Mahoning and Trumbull)




              □   TOLEDO
                                             (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             Vanwert, Williams, Wood and Wyandot)
